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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )                8:09CR29
                                               )
DENNIS WIESE,                                  )                 ORDER
                                               )
                     Defendant.                )



      This matter is before the court on the defendant's motion to continue trial (Doc. 28).
For good cause shown, trial will be continued to May 19, 2009.

       IT IS ORDERED that the motion (Doc. 47) is granted, as follows:

       1. The jury trial now set for April 21, 2009 is continued to Tuesday, May 19, 2009
as to all defendants.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between April 21, 2009 and May 19, 2009, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

       3. The movant shall file an affidavit or declaration regarding speedy trial, as
required by NECrimR 12.1 and/or 12.3, as soon as is practicable.

       DATED April 7, 2009.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
